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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA


   IN RE: ZANTAC (RANITIDINE)                                                        MDL No. 2924
   PRODUCTS LIABILITY                                                                 20-MD-2924
   LITIGATION
                                                          JUDGE ROBIN L. ROSENBERG
                                                MAGISTRATE JUDGE BRUCE E. REINHART

   ________________________________/

   THIS DOCUMENT RELATES TO: ALL CASES

                                PRETRIAL ORDER # 33
           Order Enumerating Additional Responsibilities of Generic Liaison Counsel

          In PTO # 22, this Court recognized the likelihood that the needs of this MDL would evolve

   over time and that it might become necessary to revisit or modify the leadership structure and/or

   the responsibilities of appointed leadership. The recent filing of the Master Personal Injury

   Complaint and the Consolidated Class Action Complaints has significantly increased the number

   of generic manufacturer defendants in this litigation such that the scope of the work of the

   appointed Generic Liaison Counsel should be clarified. In PTO # 22, this Court tasked the Generic

   Liaison Counsel with working with Coordinating Counsel to create processes for ensuring that the

   Generic Defendants are kept apprised of developments in the litigation on a timely basis. Generic

   Liaison Counsel were further assigned the responsibility for coordinating feedback to Coordinating

   Counsel and Co-Lead Counsel as to pending filings or matters in a timely and efficient fashion.

          In light of the importance of their work communicating with a substantial number of

   Generic Defendants and presenting the views of a large group of defendants, the Court finds it

   appropriate to enumerate additional responsibilities of Generic Liaison Counsel that will assist

   them in promoting the efficient conduct of this MDL, as follows: to appear on behalf of the Generic

   Defendants at court-noticed conferences and hearings with regard to matters of common interest;
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   to oversee, approve, and bear ultimate responsibility for the preparation and filing of motions,

   oppositions to motions, and supporting briefs on behalf of Generic Defendants on matters of

   common interest or pursuant to Court order; to negotiate for and ultimately bind Generic

   Defendants on procedural issues and orders, subject to the right of any Defendant to present

   objections based on individual or unique circumstances first to the Special Master and then to this

   Court; and to assign and delegate tasks to members of the Generic Defendant group as may be

   necessary to promote the efficient conduct of this MDL.

           DONE and ORDERED in Chambers, West Palm Beach, Florida, this 9th day of July,

   2020.



                                                ROBIN L. ROSENBERG
                                                UNITED STATES DISTRICT JUDGE




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